            Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 1 of 58




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  NICOLE SAPIENZA, on behalf of herself and
  all others similarly situated,                      Civil Action No.:
                             Plaintiff,

            v.

  ALBERTSONS COMPANIES, INC.,
  SHAW’S SUPERMARKETS, INC.,
  SAFEWAY, INC., BETTER LIVING
  BRANDS, LLC, and LNK
  INTERNATIONAL, INC.,

                             Defendants.


                                 CLASS ACTION COMPLAINT

                                          Jury Trial Demanded

       Plaintiff Nicole Sapienza (“Plaintiff”) brings this action on behalf of herself and all others

similarly situated against Defendants Albertsons Companies, Inc., Shaw’s Supermarkets, Inc.,

Safeway, Inc., Better Living Brands, LLC, and LNK International, Inc. (collectively,

“Defendants” or “Albertsons”). Plaintiff makes the following allegations pursuant to the

investigation of her counsel and based upon information and belief, except as to allegations

specifically pertaining to herself and her counsel, which are based on personal knowledge.

                                   NATURE OF THE ACTION

       1.        This is a putative class action lawsuit against Defendants for cheating customers

by uniformly advertising, marketing, and selling generic versions of certain over-the-counter

drugs, including analgesic or pain-relieving medicines using acetaminophen under the brand

name “Signature Care” (the “Class Rapid Release Gelcaps” or the “Products”), prominently

bearing the misrepresentation “Rapid Release” (the “Rapid Release Claims” or
              Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 2 of 58




“Misrepresentation”). However, contrary to Defendants’ claims, the purported “Rapid Release”

Products actually dissolve slower than Signature Care-branded non-rapid release acetaminophen

products made and sold in tablet and caplet form.

         2.       Albertsons is the second largest supermarket chain in the United States. 1 As of

February 2022, Albertsons “operated 2,276 retail stores … across 34 states and the District of

Columbia with 24 banners including Albertsons, Safeway, Vons, Jewel-Osco, Shaw’s, Acme,

Tom Thumb, Randalls, United Supermarkets, Pavilions, Star Market, Haggen, Carrs, Kings Food

Markets and Balducci’s Food Lovers Market.” 2 At each of these stores and banners, Defendants

sell a variety of health and wellness products, including over-the-counter pharmaceuticals.

Relevant here, in addition to selling brand name over-the-counter drugs, Defendants also

produce, manufacture, market, distribute, and sell the Class Rapid Release Gelcaps.




1
 See, e.g., Statista Research Department, Revenues of Albertsons Companies U.S. 2020, by segment (Jan. 27, 2022),
https://www.statista.com/statistics/1167551/albertsons-revenue-by-segment-us/ (“As the second-largest supermarket
chain in the North America, Albertsons generated retail sales and other revenues exceeding 69 billion U.S. dollars in
2020.”); Statista Research Department, Net sales of Albertsons Companies U.S. 2015-2020 (Jan. 27, 2022),
https://www.statista.com/statistics/1167526/albertsons-net-sales-us/; see also Statista Research Department,
Albertsons Companies Statistics & Facts (Jan. 24, 2022), https://www.statista.com/topics/6931/albertsons-
companies/#dossierKeyfigures (“Today, Albertsons Companies operates over 2,270 stores throughout the United
States and employs around 300,000 people, making it one of the largest supermarket chains in North America.”).
2
 Albertsons Companies, Inc. Reports Fourth Quarter and Full Year Results (Apr. 12, 2022), available at
https://www.albertsonscompanies.com/newsroom/press-releases/news-details/2022/Albertsons-Companies-Inc.-
Reports-Fourth-Quarter-and-Full-Year-Results/default.aspx. See also Albertsons Companies, Q4 2021 Latest
Quarterly Results: Earnings Release Infographic (Apr. 2022), available at
https://s29.q4cdn.com/239956855/files/doc_financials/2021/q4/ALBCIV184062_CORP_ACI_InvestorRelations_A
pril2022-FINAL.pdf; Albertsons Companies, Company Fact Sheet (Apr. 2022), available at
https://s29.q4cdn.com/239956855/files/doc_downloads/2022/04/ALBCIV181099_CORP_ACI_FactSheet_FY2021_
April2022-_-FINAL.pdf; Albertsons Companies, “Investors,” available at
https://www.albertsonscompanies.com/investors/overview/default.aspx.



                                                         2
                Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 3 of 58




           3.       In 2005, Johnson & Johnson Consumer Inc. introduced the name brand Tylenol®

Extra Strength Rapid Release Gels to the American public, purporting that its “Gelcaps [] are

specially designed with holes to allow [for] the release of powerful medicine even faster than

before.” 3 Three years later, in 2008, Tylenol® PM Rapid Release Gels were launched with the

same promises. 4

           4.       Relevant to these allegations, Tylenol® is the branded name for acetaminophen.

In other words, acetaminophen is “generic Tylenol®.”




3
    https://www.tylenol.com/news/about-us (last accessed May 5, 2022) (emphasis added).
4
    Id.



                                                         3
             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 4 of 58




        5.       Defendants then introduced their own version of the Tylenol® Extra Strength

Rapid Release Gels called “Signature Care Rapid Release Gelcaps:” 5




5
 See, e.g., https://www.acmemarkets.com/shop/product-details.960326318.html;
https://www.albertsons.com/shop/product-details.960189576.177.html; https://www.safeway.com/shop/product-
details.157050117.html.



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             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 5 of 58




        6.       Defendants also introduced their own version of the Tylenol® Extra Strength PM

Rapid Release Gels called “Signature Care PM Rapid Release Gelcaps” (together with Signature

Care Rapid Release Gelcaps, the “Class Rapid Release Gelcaps”): 6




        7.       Since the release of the Class Rapid Release Gelcaps, Defendants have misled,

and continue to mislead, consumers about the nature, quality, and effectiveness of the Products

through their advertising and labeling. Specifically, Defendants market the Class Rapid Release

Gelcaps as “comparable to Tylenol® Extra Strength Rapid Release Gels,” even though they

actually dissolve slower than Defendants’ acetaminophen in traditional tablet and caplet form.

        8.       More importantly, following Tylenol’s lead, Defendants prominently label every

Product sold in the United States as “Rapid Release” Gelcaps.

        9.       But Defendants’ Rapid Release Claims concerning the Products are false,

misleading, and deceptive to consumers, who reasonably understand such claims to mean that

the Products work faster for consumers than non-rapid release products with the same active

ingredients and of the same dosage. However, despite what Defendants’ marketing and labeling



6
 See, e.g., https://www.acmemarkets.com/shop/product-details.960019790.html;
https://www.albertsons.com/shop/product-details.960019790.html; https://www.safeway.com/shop/product-
details.960171151.html.



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           Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 6 of 58




would have consumers believe, the Class Rapid Release Gelcaps do not provide faster pain relief

than their non-rapid release counterparts.

         10.      In fact, independent testing conducted by Valisure, LLC (“Valisure”) 7

demonstrates that the Class Rapid Release Gelcaps dissolve slower than the Signature Care-

branded non-rapid release acetaminophen products made and sold in caplet form. A true and

correct copy of these test results is attached hereto as Exhibit A.

         11.      These test results are consistent with the findings of a 2018 study – also

conducted by Valisure – which demonstrates that generic acetaminophen rapid release gelcaps

sold by Walgreens, Walmart, and Rite Aid dissolve slower than these companies’ non-rapid

release versions of acetaminophen sold in tablet or caplet form. 8 “Results [of the study] indicate

that acetaminophen gelcaps marketed as rapid or fast-release are slower acting under in vitro

dissolution conditions compared to the company-matched tablet dose.” 9 A true and correct copy



7
  Valisure is an “independent laboratory and partner for quality that is committed to increasing transparency and
quality assurance throughout the healthcare industry.” https://www.valisure.com/#Independent-Analysis. In service
of that mission, Valisure “offers independent certification, analytical studies and advocacy, vendor validation,
consulting and other specialty projects that focus on science-based product quality.” Id.; see also “About Us,”
https://www.valisure.com/about (“In response to rising concerns and quality issues in the global supply chain,
Valisure’s team of Harvard- and Yale-trained scientists developed proprietary analytical technologies to
independently test products, identify critical issues, and offer services to help distinguish quality stakeholders and
products.”).
8
 See Jessop Kucera, et al., Rapid and Fast-Release Acetaminophen Gelcaps Dissolve Slower Than Acetaminophen
Tablets, ADV. INV. PHA. THE. MEDIC., 1:63-71 (Nov. 12, 2018) [hereinafter “2018 Valisure Acetaminophen Study”],
available at http://www.kenkyugroup.org/article/8/173/Rapid-and-Fast-Release-Acetaminophen-Gelcaps-Dissolve-
Slower-Than-Acetaminophen-Tablets; see also Washington Post, ‘Rapid release’ Tylenol gelcaps are slower to
dissolve than cheaper tablets, study finds (Nov. 14, 2018),
https://www.washingtonpost.com/health/2018/11/14/rapid-release-tylenol-gelcaps-are-slower-dissolve-than-
cheaper-tablets-study-finds/.
9
 2018 Valisure Acetaminophen Study; see also id. (“To better understand the influence of gelatin coatings on
gelcap dissolution, four gelcaps from each of the twenty-five lots tested during the primary study (n = 100) were
examined with their red and blue encapsulation removed. … Results suggest that the removal of a gelcap’s red and
blue coating speeds up, on average, the time required for fully dissolving by 26%. This faster dissolution time
suggests that gelcaps are a barrier for dissolution.”) (emphasis added) (internal citations omitted); id. (“The results
of the study suggest that acetaminophen gelcaps packaged with marketed claims of rapid or fast-release tend to
dissolve slower than tablets of identical dosage sold by the same company.”); id. (“Our results suggest that the
gelatin coating added to rapid or fast-release gelcaps delays in vitro release of medication.”).



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             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 7 of 58




of the 2018 Valisure Acetaminophen Study is attached hereto as Exhibit B.

           12.     Defendants have long known or should have known that traditional, non-rapid

release acetaminophen products can be equally effective in the same, if not faster, in the same

time period than the Class Rapid Release Gelcaps.

           13.     Nevertheless, Defendants sell the Class Rapid Release Gelcaps as an alternative to

their traditional Signature Care-branded acetaminophen caplets, which are sold at a lower price

and do not contain the “rapid release” language on the label. In other words, Defendants charge

a premium for the Class Rapid Release Gelcaps. 10

           14.     By prominently featuring the Rapid Release Claims on the labeling and/or

packaging of the Class Rapid Release Gelcaps, Defendants intended to induce consumers to pay

more than they would pay for other comparable products that are not falsely labeled with Rapid

Release Claims, and consumers are so induced as a result of these claims.

           15.     Defendants knew or should have known about the mislabeling. According to

Shane Sampson, Defendants’ Chief Marketing and Merchandising Officer, “[a]t Albertsons

Companies, we won’t put our Signature label on just anything; a product has to meet rigorous

quality standards and be an exceptional value to carry the Signature brand.” 11 Additionally,

Defendants claim that “[a]ll our stores—no matter under which banner they operate—were

founded on the philosophy of offering customers the products they want at a fair price[.]” 12



10
  See infra. See also Ex. B, 2018 Valisure Acetaminophen Study, supra (“These rapid or fast-release labeled
medications are sold at an average of a 23% higher price[.]”); Washington Post, ‘Rapid release’ Tylenol gelcaps are
slower to dissolve than cheaper tablets, study finds (Nov. 14, 2018) (“Overall, the rapid-release gels carried a 23
percent higher price than the tablets[.]”).
11
   Business Wire, Signature Offers a Wide Range of Quality Products Helping Customers Create Their Own
Signature Moments with Pride (Apr. 4, 2016), available at
https://www.businesswire.com/news/home/20160404005193/en/Albertsons-Companies-Introduces-the-New-
Signature-Family-of-Brands (internal quotation marks omitted).
12
     https://www.shaws.com/about-us.html.



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         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 8 of 58




       16.     Plaintiff and members of the putative Class and Subclass would not have

purchased the Class Rapid Release Gelcaps had Defendants disclosed accurate information about

the products and not misled them into believing that the Class Rapid Release Gelcaps would

provide faster relief than other, cheaper acetaminophen products, such as the traditional

Signature Care non-rapid release acetaminophen sold in caplet and tablet form.

       17.     Plaintiff brings this suit to now end Defendants’ deceptive practices as described

above and to recover the ill-gotten gains obtained by Defendants through this deception.

       18.     For the foregoing reasons, Plaintiff brings this action individually and on behalf

of similarly situated individuals against Defendants for: (i) violation of the Massachusetts

Consumer Protection Act, Mass. Gen. Laws ch. 93A, et seq.; (ii) breach of express warranty; (iii)

breach of the implied warranty of merchantability; (iv) unjust enrichment / restitution; (v)

negligent misrepresentation; and (vi) fraud.

                                         THE PARTIES

       19.     Plaintiff Nicole Sapienza is a natural person and a citizen of Massachusetts who

resides in Newton, Massachusetts. In or around January 2022, and before then about once a year

during the Class Period, Plaintiff Sapienza purchased the Signature Care Rapid Release

Acetaminophen Gelcaps from a Shaw’s Supermarkets brick-and-mortar retail store located in

Waltham, Massachusetts. Prior to her purchases, Plaintiff Sapienza reviewed the labeling,

packaging, and marketing materials for the Products and saw the Misrepresentations that the

Product contains acetaminophen in the form of purportedly “Rapid Release” gelcaps. Plaintiff

Sapienza relied on that labeling and packaging to choose the Product over less expensive, non-

rapid release counterparts of the same dosage. Plaintiff Sapienza saw these Rapid Release

Claims prior to and at the time of purchase, and she understood them as representations and




                                                 8
           Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 9 of 58




warranties by Defendants that the Products release acetaminophen into the body faster and thus

provide quicker pain relief than non-rapid release products with the same active ingredients and

of the same dosage. Based on that understanding, Plaintiff Sapienza purchased the Products

because she believed that the Gelcaps would work faster than their non-rapid release tablet and

caplet counterparts and specifically sought the fastest pain relief available. Plaintiff Sapienza

therefore reasonably relied on Defendants’ Rapid Release Claims when she purchased her

Products. Accordingly, these representations and warranties were part of the basis of the

bargain, in that Plaintiff Sapienza would not have purchased the Products on the same terms had

she known these representations were not true. In making her purchases, Plaintiff Sapienza paid

a substantial price premium due to the false and misleading Rapid Release Claims. However,

Plaintiff Sapienza did not receive the benefit of her bargain, because Defendants’ purportedly

“Rapid Release” Products do not, in fact, work faster than their less expensive, non-rapid release

counterparts in caplet or table form containing acetaminophen in the same dosage.

         20.      Defendant Albertsons Companies, Inc. (“ACI”) is a Delaware corporation with its

principal place of business and headquarters at 250 Parkcenter Blvd, Boise, Idaho 83706. As

“one of the largest food and drug retailers in the United States,” 13 ACI owns and operates more

than 2,200 retail stores across the country under 24 different banners, including Albertsons and

Safeway. 14 In addition, in 2016, ACI launched “its new store brand, Signature, the largest


13
  See Albertsons Companies, “Investors,” available at
https://www.albertsonscompanies.com/investors/overview/default.aspx. See also Albertsons Companies, Inc., Form
S-1/A (Jun. 10, 2020), https://sec.report/Document/0001193125-20-165122/ (“We hold a #1 or #2 position by
market share in 68% of the 121 metropolitan statistical areas (“MSAs”) in which we operate. … We believe this
local market presence, coupled with brand recognition, drives repeat traffic and helps create marketing, distribution
and omni-channel efficiencies that enhance our profitability.”).
14
   On information and belief, Defendant ACI controls the marketing and pricing practices of the more than 2,200
ACI-owned retail stores located throughout the United States, and all banners under which those stores operate. See,
e.g., Albertsons Companies, Inc., 2021 Annual Report (Form 10-K), at 8-9, available at
https://annualreport.stocklight.com/NYSE/ACI/21864714.pdf (“Our retail operating divisions are geographically
based, have similar economic characteristics and similar expected long-term financial performance. … Across all


                                                         9
           Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 10 of 58




private label across [its more than 2,200] stores.” 15 The Signature line “is exclusive to

Albertsons Companies and is carried by all [of its] banners.” 16 Relevant here, ACI owns and

operates the “Signature Care” brand, the health products segment of ACI’s Signature label, and it

manufactures, labels, sells, and distributes all Signature Care-branded products to consumers in

Massachusetts and throughout the United States, including the Class Rapid Release Gelcaps,

which are generic versions of pain-relieving medicines sold under the Signature Care brand

name. ACI is also responsible for in-store signage, promotion, advertisement, and marketing of

the Class Rapid Release Gelcaps, and it owns and operates the websites for Shaw’s, Albertsons,

Safeway, and all other ACI banner stores. At all relevant times, acting alone or in concert with

others, ACI has done business in Massachusetts and throughout the United States. At all


operating segments, the Company operates primarily one store format. Each division offers, through its stores and
digital channels, the same general mix of products with similar pricing to similar categories of customers, have
similar distribution methods, operate in similar regulatory environments and purchase merchandise from similar or
the same vendors. … Our marketing efforts involve collaboration between our national marketing and
merchandising team and local divisions and stores. We augment the local division teams with corporate resources
and are focused on providing expertise, sharing best practices and leveraging scale in partnership with leading
consumer packaged goods vendors. … We have recently deployed and are continuing to refine cloud-based
enterprise solutions to quickly process proprietary customer, product and transaction data and efficiently provide our
local managers with targeted marketing strategies for customers in their communities. By leveraging customer and
transaction information with data driven analytics, our ‘personalized deal engine’ is able to select, out of the
thousands of different promotions offered by our suppliers, the offers that we expect will be most compelling to each
of our more than 30 million weekly customers. In addition, we use data analytics to optimize shelf assortment and
space in our stores[.]”); see also Albertsons Companies, Inc., Form S-1/A (Jun. 10, 2020),
https://sec.report/Document/0001193125-20-165122/ (“We have integrated systems and converted stores and
distribution centers to create a common platform. We believe our common platform gives us greater transparency
and compatibility across our network, allowing us to better serve our customers and employees while enhancing our
supply chain. We continue to sharpen our in-store execution, increase our Own Brands penetration and expand our
omni-channel and digital capabilities.”).
15
  Business Wire, Signature Offers a Wide Range of Quality Products Helping Customers Create Their Own
Signature Moments with Pride (Apr. 4, 2016), available at
https://www.businesswire.com/news/home/20160404005193/en/Albertsons-Companies-Introduces-the-New-
Signature-Family-of-Brands (“Signature is a multi-category brand developed to address consumers’ growing
appetite for quality private label products from stores they trust. … Albertsons Companies has created quality items
for the Signature brand across six product sectors – Signature SELECT™, Signature Kitchens™, Signature
Farms™, Signature Cafe®, Signature Home™, and Signature Care™. The line includes a wide assortment of
pantry staples, prepared foods, fresh produce and ingredients that bring delight to any dish, as well as a broad range
of paper goods, laundry products, personal care, and other items.”) (bolding in original; underlining added for
emphasis).
16
     Id.



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         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 11 of 58




relevant times, acting alone or in concert with others, ACI advertised, marketed, sold, and

distributed the Class Rapid Release Gelcaps to consumers in Massachusetts and throughout the

United States. Further, acting alone or in concert with others, ACI has, at all relevant times,

formulated, directed, controlled, had the authority to control, and/or participated in the acts and

practices set forth in this Complaint.

        21.     Defendant Shaw’s Supermarkets, Inc. (“Shaw’s”) is a Massachusetts corporation

with its principal place of business and headquarters located in Boise, Idaho. Shaw’s is a

subsidiary of Defendant ACI. Shaw’s is a supermarket chain that sells grocery items, food, and

general merchandise to consumers regionally, including the Class Rapid Release Gelcaps.

Shaw’s, which is “one of the oldest continuously-operated supermarkets in the US[,]” 17

“operates 150 [brick-and-mortar] stores throughout New England” under the Shaw’s and Star

Markets banners as “part of [ACI’s] 2,200+ store operation[.]” 18 Of those 150 stores, Shaw’s

maintains 55 retail locations in Massachusetts (including the Waltham, MA location where

Plaintiff purchased her Products). Shaw’s sells Signature Care-branded products to consumers in

Massachusetts and throughout the United States, including the Class Rapid Release Gelcaps.

Shaw’s is also responsible for the in-store signage, promotion, advertisement, and marketing of

the Class Rapid Release Gelcaps. Additionally, at all relevant times, acting alone or in concert

with others, Shaw’s advertised, marketed, sold, and distributed the Class Rapid Release Gelcaps

to consumers in Massachusetts and throughout the United States. Acting alone or in concert with

others, Shaw’s formulated, directed, controlled, had the authority to control, and/or participated




17
  https://www.dnb.com/business-directory/company-
profiles.shaws_supermarkets_inc.35dc9f909975b474fbc94b9358bf5c48.html.
18
   https://www.shaws.com/about-us.html; see also https://www.dnb.com/business-directory/company-
profiles.shaws_supermarkets_inc.35dc9f909975b474fbc94b9358bf5c48.html.



                                                     11
             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 12 of 58




in the acts and practices set forth herein.

           22.      Defendant Safeway, Inc. (“Safeway”) is a Delaware corporation with its principal

place of business and headquarters located in Pleasanton, California. Safeway is a wholly owned

subsidiary of, and “operates as a banner of [, ACI], one of the largest food and drug retailers in

the United States.” 19 Safeway sells grocery items, food, and general merchandise to consumers

regionally, and it provides a variety of specialty departments, such as bakery, delicatessen, floral

and pharmacy. Together with Defendant ACI, Safeway owns and operates the “Signature Care”

trademark. Acting alone or in concert with others, Safeway formulated, directed, controlled, had

the authority to control, and/or participated in the acts and practices set forth herein.

           23.      Defendant Better Living Brands, LLC (“BLB”) is a limited liability company

organized under Delaware law with its principal place of business and headquarters located in

Pleasanton, California 94566. BLB is a wholly owned subsidiary of Defendant Safeway. At all

relevant times, BLB, acting alone or in concert with others, has manufactured, marketed, and

distributed Signature Care-branded products, including the Class Rapid Release Gelcaps, to

consumers in Massachusetts and throughout the United States. Indeed, BLB is listed as the

labeler of some or all of the Class Rapid Release Gelcaps directly on the Products’ labeling.

           24.      Defendant LNK International, Inc. (“LNK”) is a New York for-profit corporation

with its principal place of business and headquarters located at 22 Arkay Drive, Hauppauge, New

York 11788. LNK is “one of the nation’s largest manufacturers of solid and liquid dose, over-

the-counter (OTC) pharmaceuticals.” 20 LNK’s operation includes providing, among other

things, laboratory services, manufacturing services, packaging services, and marketing services



19
     https://www.safeway.com/about-us.html.
20
     https://www.lnkintl.com/.



                                                   12
             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 13 of 58




for store brands like Signature Care. 21 Relevant here, LNK, acting alone or in concert with

others, manufactures, designs, labels, markets, and/or supplies the Class Rapid Release Gelcaps

to consumers in Massachusetts and throughout the United States.

           25.      Together, Defendants ACI, Shaw’s, Safeway, BLB, and LNK (collectively,

“Defendants”) manufacture and distribute all Signature Care-branded products, including the

Class Rapid Release Gelcaps, which are generic versions of pain-relieving medication sold under

the Signature Care brand name exclusively at ACI banner stores. Defendants are also

responsible for the promotion, advertisement, marketing, and distribution of the Products in

Massachusetts and throughout the United States. Further, Defendants sell, and at all relevant

times have sold, the Class Rapid Release Gelcaps to consumers in Massachusetts and throughout

the United States. Defendants have thus transacted in Massachusetts and throughout the United

States at all times during the Class Period.

           26.      Plaintiff reserves the right to amend this Complaint to add different or additional

defendants, including without limitation any officer, director, employee, supplier, or distributor

of Defendants who has knowingly and willfully aided, abetted, and/or conspired with them in the

false and deceptive conduct alleged herein.

                                       JURISDICTION AND VENUE

           27.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A),

as amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class

action where the aggregate claims of all members of the proposed class are in excess of

$5,000,000.00, exclusive of interest and costs, there are over 100 members of the putative class,

and there is at least minimal diversity in that Plaintiff, as well as most members of the proposed


21
     See https://www.lnkintl.com/our-operation; https://www.lnkintl.com/about-lnk.



                                                          13
            Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 14 of 58




class, is a citizen of a state different from most Defendants.

           28.     This Court has personal jurisdiction over Defendants have, at all times relevant

hereto, sufficient minimum contacts with this state and District in that they have systematically

and continually conducted business in Massachusetts, including within this District, and/or have

intentionally availed themselves of the benefits and privileges of the Massachusetts consumer

market through the promotion, marketing, and sale of their products and/or services to residents

within this District and throughout Massachusetts. Plaintiff Sapienza is also citizen of

Massachusetts, purchased the Class Rapid Release Gelcaps from Defendants while in

Massachusetts, and submits to the jurisdiction of the Court.

           29.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action

because a substantial part of the events, omissions, and acts giving rise to the Plaintiff’s claims

occurred in this District. Also, Plaintiff resides in this District and purchased the Class Rapid

Release Gelcaps from Defendants from a brick-and-mortar Shaw’s retail location in this District.

Moreover, Defendants systematically conduct business in this District and throughout the State

of Massachusetts, and they distributed, advertised, and sold the Class Rapid Release Gelcaps to

Plaintiff and other members of the proposed Nationwide Class and Massachusetts Subclass in

this State and District.

                                        FACTUAL ALLEGATIONS

           A.      Acetaminophen, Generally

           30.     Acetaminophen, also called paracetamol or N-acetyl-para-aminophenol (APAP),

is an over-the-counter pain reliever and fever reducer that comes in a variety of forms: liquid

suspension, capsules, tablets (including “caplets,” i.e., capsule-shaped tablets), and gelcaps. 22


22
     See Ex. B, 2018 Valisure Acetaminophen Study, supra.



                                                        14
             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 15 of 58




           31.      In any form, acetaminophen is used to treat a variety of common conditions

including headaches, muscle aches, arthritis, backaches, toothaches, colds, fevers, acute pain,

chronic pain, etc. 23 Typically, it is the first treatment recommended for any mild to moderate

pain. Therefore, acetaminophen is one of the most commonly used drugs in the world when it

comes to pain mitigation, representing an estimated global market value of over $350 million

annually. 24 It is even included on the World Health Organization List of Essential Medicines. 25

           32.      Given the wide-spread use of acetaminophen, both the quality and value of

acetaminophen products present important public health, consumer safety, and economic

concerns. 26

           B.       Defendants Seek To Capitalize Off Of Johnson & Johnson’s Successful
                    “Tylenol”-Brand Acetaminophen Products By Creating Generics

           33.      Tylenol® is the well-recognized brand name of acetaminophen that is produced,

manufactured, and distributed by Johnson & Johnson.

           34.      Johnson & Johnson currently lists 34 Tylenol® products on its Tylenol® website,

including: 1 non-medicative device, 13 liquid products, 1 chewable product, 1 tablet product, 1

coated tablet product, 13 caplet products, and 2 gelcap products. 27 All but two of the 34 products

contain acetaminophen. 28 Johnson & Johnson has profited and continues to profit greatly from

this Tylenol® product line.


23
  See, e.g., https://www.drugs.com/acetaminophen.html; https://www.mayoclinic.org/chronic-pain-medication-
decisions/art-20360371.
24
     See Ex. B, 2018 Valisure Acetaminophen Study, supra.
25
  World Health Organization (“WHO”), Model List of Essential Medicines (Aug. 2017 ed.),
http://www.who.int/medicines/publications/essentialmedicines/en/2017.
26
     See Ex. B, 2018 Valisure Acetaminophen Study, supra.
27
     https://www.tylenol.com/products (last accessed May 5, 2022).
28
   Id. SmartCheck™ Digital Ear Scope From Children’s Tylenol® (an at-home digital ear scope containing no
medication) and Tylenol® PM Simply Sleep Nighttime Sleep Aid do not contain acetaminophen.



                                                         15
            Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 16 of 58




           35.     Generic brands, like Signature Care, thus seek to mimic the product offerings of

Johnson & Johnson, selling generic versions of the Tylenol® products. Indeed, Defendants have

done this with respect to several Tylenol® products, mimicking the Tylenol® Extra Strength

Rapid Release gels.

           C.      The Marketing Of Rapid Release Acetaminophen

           36.     Johnson & Johnson introduced Tylenol® Extra Strength Rapid Release Gels in

2005, claiming that these rapid release gelcaps are “specially designed…to allow the release of

powerful medicine even faster than before.” 29 In 2008, Tylenol® PM Rapid Release Gels

launched utilizing the same “rapid release” technology and the same or similar advertising. 30

Thus, this claim – that these rapid release gelcaps worked even faster than before – became

associated with the regular and PM versions of Tylenol® Extra Strength Rapid Release Gels.

           37.     Then, in 2009, Tylenol’s rapid release gels were recalled and were not re-released

until 2017. 31 “The national return to the market of the rapid release gels represented Tylenol’s

biggest product launch in years” and, thus, the marketing campaign “involved triple the

investment” that Johnson & Johnson would normally spend all to encourage consumers to find

“fast working pain relief.” 32 “In the first month, [the campaign] reached over 25 million

shoppers on their mobile devices across five key markets, resulting in both category and Tylenol

share growth at Walgreens.” 33 Consumers were inundated with the campaign messaging in




29
     https://www.tylenol.com/news/about-us (last accessed May 5, 2022) (emphasis added).
30
     Id.
31
  Consumer Goods Technology, Headache Sufferers Directed to Walgreens (Jun. 1, 2017),
https://consumergoods.com/headache-sufferers-directed-walgreens (last accessed Jan. 27, 2021).
32
     Id.
33
     Id.



                                                         16
          Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 17 of 58




stores and online. 34

        38.      In its marketing, Johnson & Johnson used buzz words that emphasized the speed,

fast-acting nature, and unique laser-drilled holes of the rapid release gelcaps. For example,

Johnson & Johnson advertised that “only Tylenol rapid release gels have laser-drilled holes” and

claimed that they “release medicine fast for fast pain relief” and that the product supposedly

“works at the speed of life.”

        39.      This marketing campaign has been successful in getting the public to believe that

the rapid release gelcaps are faster acting than traditional formulations, when in fact they may be

slower in certain circumstances – such as the formulation sold by Defendants. Consumer

reviews and comments indicate that consumers have been deceived and confused by these

representations; and some even notice after purchase that certain “rapid release” gelcaps do not

work faster than regular, non-rapid release formulations.

        D.       Defendants’ False, Misleading, Unfair, And Deceptive Marketing,
                 Labeling, And Sale Of The Signature Care Rapid Release Gelcaps

        40.      Numerous companies, including Defendants, have followed Johnson & Johnson’s

lead with respect to the labeling, marketing, advertising, and pricing of their acetaminophen

products, including the Products at issue in this case. Now, in general, acetaminophen gelcap

products labeled, advertised, or marketed as “rapid release,” “fast-release,” or the like, are sold

on average at a price 23% higher than those traditional acetaminophen products sold in caplet or

tablet form that do not make any Rapid Release Claims.



34
  Id. (“In stores, shoppers found Tylenol messaging at every turn, from displays in-aisle to endcaps to the pharmacy
counter to checkout. In 3,200 Walgreens stores, motion-activated video units installed for the campaign featured a
15-second video spot customized for the retailer. The video unit and off-shelf placement remained for six months.
* The spot also ran for 12 weeks on YouTube, demonstrating how the laser-drilled gelcaps release medicine quickly
for fast relief. The launch also was supported via Walgreens.com, email blasts, the retailer’s Facebook page, a
Google campaign, FSIs and paid search.”).



                                                        17
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 18 of 58




        41.     As noted above, Defendants are, collectively, one such entity that followed

Johnson & Johnson’s lead. Defendants sell their Class Rapid Release Gelcaps at a higher price

than their other, faster acting acetaminophen products not featuring the Rapid Release Claims.

        42.     Defendants currently list 5 Class Rapid Release Gelcap products on their

websites, including: Signature Care Extra Strength Acetaminophen Rapid Release Gelcaps in

quantities of 24, 100, and 225 gelcaps; and Signature Care Extra Strength PM Acetaminophen

Gelcaps in quantities of 20 and 80 gelcaps. 35 Additionally, Defendants’ websites currently show

that they sell 9 traditional acetaminophen products at the same dosage (500 mg) that do not

feature the Rapid Release Claims, including: Signature Care Extra Strength Acetaminophen

Caplets in quantities of 24, 50, 100, 150, 250, and 500 caplets; and Signature Care Extra Strength

PM Acetaminophen Caplets in quantities of 24, 100, and 200 caplets. 36

        43.     A comparison of the average unit market price of the Class Rapid Release

Gelcaps and the traditional Signature Care-branded acetaminophen caplets of the same dosage

demonstrates that Defendants charge more for the Class Rapid Release Gelcaps than their

equivalent non-rapid release acetaminophen products. For example, out of all products currently

in stock and listed on the Shaw’s website – specifically, taking into consideration all Class Rapid




35
  See, e.g., https://www.shaws.com/shop/search-results.html?q=signature%20care%20gelcap;
https://www.albertsons.com/shop/search-results.html?q=signature%20care%20gelcaps;
https://www.safeway.com/shop/search-results.html?q=signature%20care%20rapid%20release%20gelcap; see
https://www.acmemarkets.com/shop/search-results.html?q=signature%20care%20gelcap.
36
  See, e.g., https://www.shaws.com/shop/search-
results.html?q=signature%20care%20pain%20relief%20acetaminophen%20extra%20strength%20caplets;
https://www.albertsons.com/shop/search-
results.html?q=signature%20care%20pain%20relief%20acetaminophen%20extra%20strength%20caplets;
https://www.safeway.com/shop/search-
results.html?q=signature%20care%20pain%20relief%20acetaminophen%20extra%20strength%20caplets;
https://www.acmemarkets.com/shop/search-
results.html?q=signature%20care%20pain%20relief%20acetaminophen%20extra%20strength%20caplets.



                                                   18
             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 19 of 58




Release Gelcaps 37 and all traditional non-rapid release caplets 38 (including PM acetaminophen

gelcap and caplet products) – the average regular price of a single gelcap is approximately $0.17

per unit, whereas the average regular price of a single caplet is approximately $0.12 per unit, for

a price differential of about 5 cents per unit. Likewise, at Safeway, the average regular price of a

single gelcap is approximately $0.19 per unit, whereas the average price of a single caplet is

approximately $0.16 per unit, for a price differential of almost 3 cents per unit. Thus, based on

average unit price, the Class Rapid Release Gelcaps are more expensive as the traditional non-

rapid release caplets of the same.

           44.      The price premium attributable to Defendants’ Rapid Release Claims is also

reflected by comparison of the market prices of the Class Rapid Release Gelcaps and the

traditional Signature Care-branded acetaminophen products sold in caplet form of the same

dosage and quantity. For instance, currently at Albertsons, a regularly priced 100-count bottle of

Signature Care Extra Strength Acetaminophen Rapid Release Gelcaps costs $11.49 39 (about

$0.11 per unit), while a regularly priced 100-count bottle of Signature Care Extra Strength

Acetaminophen caplets costs $5.99 40 (about $0.06 per unit). Thus, with respect to the 100-count

bottles, there is a $5.50 price difference between the Class Rapid Release Gelcaps and the non-

rapid release Signature Care products sold at Albertsons, a difference of approximately 5 cents


37
  See https://www.shaws.com/shop/product-details.960189576.html; https://www.shaws.com/shop/product-
details.157050117.html; https://www.shaws.com/shop/product-details.960326318.html;
https://www.shaws.com/shop/product-details.960171151.html; https://www.shaws.com/shop/product-
details.960019790.html (last accessed Jun. 2, 2022).
38
  See https://www.shaws.com/shop/product-details.157050019.html; https://www.shaws.com/shop/product-
details.157050035.html; https://www.shaws.com/shop/product-details.157050006.html;
https://www.shaws.com/shop/product-details.960171152.html; https://www.shaws.com/shop/product-
details.157050030.html; https://www.shaws.com/shop/product-details.157050042.html;
https://www.shaws.com/shop/product-details.960189578.html; https://www.shaws.com/shop/product-
details.960189579.html; https://www.shaws.com/shop/product-details.960189580.html (last accessed Jun. 2, 2022).
39
     See https://www.albertsons.com/shop/product-details.157050117.html (last accessed June 2, 2022).
40
     See https://www.albertsons.com/shop/product-details.157050006.html (last accessed June 2, 2022).



                                                         19
            Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 20 of 58




per unit. Likewise, currently at Safeway, a regularly priced 100-count bottle of Signature Care

Extra Strength Acetaminophen Rapid Release Gelcaps costs $10.99 41 (about $0.11 per unit),

while a regularly priced 100-count bottle of Signature Care Extra Strength Acetaminophen

caplets costs $7.99 42 (about $0.08 per unit), a price difference of $3.00 per product or

approximately 3 cents per unit.

           45.     Thus, the Class Rapid Release Gelcaps are more expensive than the non-rapid

release Signature Care products, even though independent testing commissioned by Plaintiff’s

counsel reveals that the Class Rapid Release Gelcaps are, in reality, slower acting compared to

the Signature Care-brand caplet and tablet doses. See Ex. A.

           46.     Yet, consumers are willing to pay this price premium because, as a result of

Defendants’ false, misleading, unfair, and/or deceptive labeling concerning Rapid Release

Claims (and other related advertising), they believe the Class Rapid Release Gelcaps work faster

than other, cheaper acetaminophen products when in fact, they do not.

           47.     As a generic brand of acetaminophen, Defendants introduced the Class Rapid

Release Gelcaps under the Signature Care brand name as counterparts to the Tylenol® products,

but only after the public had already become familiar with the Tylenol® versions. Thus, with

respect to the Class Rapid Release Gelcaps, Defendants relied on Johnson & Johnson’s massive

marketing campaigns and the success of its rapid release products before entering the market,

thereby reaping the benefits of Johnson & Johnson’s marketing efforts while avoiding the

substantial investment capital associated with such efforts.

           48.     One way in which Defendants did this was by producing the Class Rapid Release



41
     See https://www.safeway.com/shop/product-details.157050117.html.
42
     See https://www.safeway.com/shop/product-details.157050006.html.



                                                       20
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 21 of 58




Gelcaps to look the same as or substantially similar to their counterpart Tylenol® rapid release

products. Indeed, Defendants’ extra strength, non-PM “Rapid Release” acetaminophen gelcaps

are approximately the same size and shape as the Tylenol® products, and utilize the same

distinct color pattern: red on one end, blue on the other end, and a bit of white in the middle.

Thus, by the time Defendants entered the market with the Class Rapid Release Gelcaps,

consumers were already accustomed to the look of the Tylenol® rapid release products and

familiar with the claims that they were fast-acting.

       49.      Defendants did nothing to correct the perception that their “rapid release” gelcaps

worked faster than other, cheaper acetaminophen products. Instead, Defendants capitalized on

that thinking and sought to further consumer deceit by adding their own prominent false,

misleading, unfair, and/or deceptive Rapid Release Claims to the labeling and packaging of the

Class Rapid Release Gelcaps. Defendants also explicitly liken the Class Rapid Release Gelcaps

to their Products’ Tylenol® counterparts on the Products’ labeling and packaging and in other

marketing materials for the Products.

       50.      Consumers purchase the Signature Care Class Rapid Release Gelcaps because

they are labeled “rapid release,” which they reasonably understand to mean that the Products are

faster-acting than Defendants’ non-rapid release Signature Care-branded acetaminophen product

in caplet and tablet forms, and because they are cheaper than their Tylenol® rapid release

counterparts.

       E.       Independent Lab Testing Demonstrates The Labeling And Marketing Of The
                Class Rapid Release Gelcaps Are False, Misleading, Unfair, And/Or Deceptive

       51.      Notwithstanding Defendants’ claims to the contrary regarding the Class Rapid

Release Gelcaps, they do not work faster than other, cheaper non-rapid release Signature Care

acetaminophen products sold in tablet and/or caplet form. Rather, as shown in the images below,



                                                 21
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 22 of 58




independent testing commissioned by Plaintiff’s counsel revealed that the Products not only fail

to work faster, they actually work slower than their traditional acetaminophen caplet

counterparts:




Ex. A.



                                               22
            Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 23 of 58




           52.     These results are consistent with the 2018 Valisure Acetaminophen Study, in

which Valisure investigated “rapid release” or “fast release” medications from five major U.S.

companies selling acetaminophen (Rite Aid, Walgreens, CVS, Johnson & Johnson Tylenol, and

Walmart Equate), compared to company-matched tablets that do not have claims of rapid or fast-

release characteristics. See Ex. B. Valisure did this through dissolution testing, which is

commonly used in the pharmaceutical industry to test the quality and effectiveness of drug

release from solid oral medications. Id. Ultimately, Valisure’s 2018 testing revealed that, like

the Class Rapid Release Gelcaps at issue in this case, the “rapid release” gelcap products not

only failed to work faster than the company-matched tablet dose, but in fact the gelcaps actually

worked slower than their non-rapid release counterparts. 43 Id.

           53.     Thus, the science demonstrates that Defendants’ Rapid Release Claims are false,

misleading, unfair, and/or deceptive on their face. See, e.g., Exs. A-B.

           54.     Defendants knew or should have known of the existence of their “contradictory

claims for rapid or fast-release [acetaminophen] products.” 44

           55.     The level of deception and unfairness is elevated given that Defendants have long

known or should have known that there is scant or conflicting evidence about the correlation of

the speed and efficacy of its acetaminophen products to its rapid release gelcap design.

           56.     There is no proven significant efficacy difference between the Signature Care

rapid release products and the Signature Care non-rapid release products to warrant Defendants’

representations that the Class Rapid Release Gelcaps work faster than their non-rapid release

counterparts. To the contrary, these laboratory results reveal that the Class Rapid Release



43
     See Ex. B, 2018 Valisure Acetaminophen Study, supra.
44
     Id.



                                                        23
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 24 of 58




Gelcaps dissolve significantly slower than Defendants’ traditional, non-rapid release

formulation. See Exs. A-B.

       57.      Defendants knew or should have known that their Rapid Release Claims were

false, misleading, unfair, and/or deceptive. Yet, Defendants falsely marketed the Products with

the Rapid Release Claims, deliberately and falsely suggesting to consumers that the Class Rapid

Release Gelcaps worked faster than their other, cheaper, non-rapid release acetaminophen

products.

       58.      Defendants’ conduct induced, and continues to induce, unwitting consumers to

buy the Class Rapid Release Gelcaps at a price that exceeds the actual value of the Product, and

comes at a significant price premium when compared to traditional, non-rapid release

formulations.

                               CLASS ACTION ALLEGATIONS

       59.      Class Definition: Plaintiff brings this action pursuant to Rule 23(a) of the Federal

Rules of Civil Procedure on behalf of a class and subclass of similarly situated individuals,

defined as follows:

                (a)    Nationwide Class. Plaintiff seeks to represent a nationwide class of

similarly situated individuals, defined as all persons in the United States who, within the

applicable statute of limitations period, up to and including the date of final judgment in this

action, purchased any of the Products at issue (the “Nationwide Class” or “Class”).

                (b)    Massachusetts Subclass. Plaintiff also seeks to represent a subclass of all

Class members who, within the applicable statute of limitations period, up to and including the

date of final judgment in this action, purchased any of the Products at issue in Massachusetts

(the “Massachusetts Subclass” or “Subclass”).




                                                 24
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 25 of 58




       60.     Specifically excluded from the Class and Subclass are Defendants and any entities

in which Defendants have a controlling interest, Defendants’ agents and employees, the judge to

whom this action is assigned, members of the judge’s staff, and the judge’s immediate family.

       61.     Plaintiff reserves the right to amend the definitions of this Class and Subclass if

discovery or further investigation reveals that the Class and Subclass should be expanded or

otherwise modified.

       62.     Numerosity. Members of the Class and Subclass are so numerous that their

individual joinder herein is impracticable. On information and belief, the members of the

Nationwide Class number in the millions of consumers throughout the United States, and the

Subclass comprises at least thousands of consumers throughout Massachusetts. The precise

number of Class and Subclass members and their identities are unknown to Plaintiff at this time

but may be determined through discovery. Class and Subclass members may be notified of the

pendency of this action by mail and/or publication through the distribution records of Defendants

and third-party retailers and vendors.

       63.     Commonality and Predominance. Common questions of law and fact exist as to

all Class and Subclass members and predominate over questions affecting only individual Class

and Subclass members. Common legal and factual questions include, but are not limited to: (a)

whether Defendants warranted the Products as “Rapid Release;” (b) whether Defendants

breached these warranties; (c) whether Defendants committed the statutory and common law

violations alleged against them herein by doing so; (d) whether Plaintiff and members of the

Class and Subclass are entitled to damages and/or restitution; (e) whether Defendants should be

enjoined from further engaging in the misconduct alleged herein; and (f) whether Plaintiff and

members of the Class and Subclass are entitled to attorneys’ fees and costs.




                                                25
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 26 of 58




       64.     Typicality. The claims of Plaintiff are typical of the claims of the Class and

Subclass in that Plaintiff and members of the proposed Class and Subclasses purchased

Defendants’ Products in reliance on the representations and warranties described above and

suffered a loss as a result of Defendants’ uniform wrongful conduct.

       65.     Adequacy. Plaintiff is an adequate representative of the Class and Subclass

because Plaintiff has no interests antagonistic to Class and Subclass members’ interests, Plaintiff

has retained competent counsel with considerable experience and success in prosecuting

complex class actions and consumer protection cases, and Plaintiff and the undersigned counsel

intend to prosecute this action vigorously. The interests of the Class and Subclass members will

be fairly and adequately protected by Plaintiff and Plaintiff’s counsel.

       66.     Superiority. A class action is superior to all other available methods for the fair

and efficient adjudication of this controversy. Each individual Class and Subclass member may

lack the resources to undergo the burden and expense of individual prosecution of the complex

and extensive litigation necessary to establish Defendants’ liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendants’ liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of liability issues. Thus, the Class and

Subclass are readily definable and prosecution as a class action avoids repetitious litigation and

duplicative litigation costs, conserves judicial resources, ensures uniformity of decisions, and




                                                 26
        Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 27 of 58




permits claims to be handled in an orderly and expeditious manner.

       67.      Defendants have acted or failed to act on grounds generally applicable to the

Class and Subclasses, thereby making appropriate final injunctive relief with respect to the Class

and Subclass as a whole.

       68.      Without a class action, Defendants will continue a course of action that will result

in further damages to Plaintiff and members of the Class and Subclass and will likely retain the

benefits of their wrongdoing.

       69.      Based on the foregoing allegations, Plaintiff’s claims for relief include those set

forth below.

                                         COUNT I
             Violation Of The Massachusetts Consumer Protection Act (“MCPA”),
                               Mass. Gen. Laws ch. 93A, et seq.
                          (On Behalf Of The Massachusetts Subclass)

       70.      Plaintiff re-alleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       71.      Plaintiff brings this claim individually and on behalf of the members of the

proposed Massachusetts Subclass against Defendants.

       72.      The MCPA prohibits “[u]nfair or deceptive acts or practices in the conduct of any

trade or commerce.” Mass. Gen. Laws ch. 93A, § 2(a). An act is “deceptive” under Chapter

93A “if it could reasonably be found to have caused a person to act differently from the way

[s]he otherwise would have acted.” Tagliente v. Himmer, 949 F.2d 1, 7 (1st Cir. 1991).

       73.      The MCPA also provides that, “[a]ny person … who has been injured by another

person’s use or employment of any method, act or practice declared to be unlawful by section

two … may bring an action … for damages and such equitable relief, including an injunction, as

the court deems to be necessary and proper.” Mass. Gen. Laws ch. 93A, § 9(1). The MTPA



                                                 27
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 28 of 58




further provides that “[a]ny persons entitled to bring such action may, if the use or employment

of the unfair or deceptive act or practice has caused similar injury to numerous other persons

similarly situated …, bring the action on behalf of himself and such other similarly injured and

situated persons[.]” Id. § 9(2).

       74.     Defendants are each a “person” as defined in Mass. Gen. Laws ch. 93A, § 1(a).

Defendants are engaged in “trade” and “commerce” as defined in Mass. Gen. Laws Ann. ch.

93A, § 1(b) because Defendants have, at all relevant times, advertised, offered for sale, sold,

and/or distributed the Class Rapid Release Gelcaps to consumers in Massachusetts, thereby

directly or indirectly affecting the people of Massachusetts.

       75.     By engaging in the acts and omissions alleged above and incorporated herein,

Defendants have engaged, and continue to engage, in unfair or deceptive acts or practices in the

conduct of trade or commerce. Mass. Gen. Laws ch. 93A, § 2.

       76.     Defendants’ unfair and deceptive scheme to mislead consumers was comprised of

unfair and deceptive acts or practices, including, but not limited to, uniformly representing to

Plaintiff and the Class, by means of their labeling of the Products, that the Products provide

faster-acting pain relief than their non-rapid release counterparts when, in fact, they did not.

This unfair and deceptive act and practice has the capacity, tendency, and/or likely to deceive or

mislead reasonable consumers.

       77.     Defendants’ conduct, as alleged herein, constitutes unfair or deceptive acts or

practices and unfair methods of competition in trade or commerce in violation of Mass. Gen.

Laws ch. 93A, § 2 and the regulations promulgated thereunder, including without limitation, 940

C.M.R. § 3.02, 3.05(1), 3.05(2), 3.16(2), and 3.16(3).




                                                 28
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 29 of 58




       78.     Defendants’ conduct, as alleged herein, violates various regulations promulgated

by the Massachusetts Attorney General pursuant to Mass. Gen. Laws ch. 93A, § 2(c), including

the following: (i) 940 C.M.R. § 3.02 (prohibiting, among other things, statements or illustrations

used in advertisements which create a false impression of the grade, quality, value, or usability

of the product offered); (ii) 940 C.M.R.§ 3.05(1) (prohibiting claims or representations “made

by any means concerning a product which, directly, or by implication, or by failure to

adequately disclose additional relevant information, has the capacity or tendency or effect of

deceiving buyers or prospective buyers in any material respect”); (iii) 940 C.M.R. §3.05(2)

(prohibiting the use of any advertisement “which would mislead or tend to mislead buyers or

prospective buyers, through pictorial representations or in any other manner, as to the product

being offered for sale”); (iv) 940 C.M.R. § 3.16(2) (providing that it is a violation of ch. 93A, §

2 to “fail to disclose to a buyer or prospective buyer any fact, the disclosure of which may have

influenced the buyer or prospective buyer to enter into the transaction”); and 940 C.M.R. §

3.16(3) (providing that an act or practice violates ch. 93A, § 2 if it “fails to comply with existing

statutes, rules, regulations or laws, meant for the protection of the public’s health, safety or

welfare promulgated by the Commonwealth or any political subdivision thereof intended to

provide consumers of this Commonwealth protection”).

       79.     As a direct and proximate result of Defendants’ unfair and deceptive acts,

Plaintiff Sapienza and members of the Massachusetts Subclass incurred economic injuries and

suffered damages as a direct result of Defendants’ violations of Mass. Gen. Laws ch. 93A, et

seq., because: (a) they would not have purchased the Products on the same terms if they had

known that the Rapid Release Claims were not true; (b) they paid a price premium for the




                                                  29
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 30 of 58




Products; and (c) the Products do not have the characteristics, use, benefits, or quantities as

promised by Defendants.

       80.     Defendants’ unfair or deceptive acts or practices, as alleged herein, were willful

or knowing violations of Mass. Gen. Laws ch. 93A, § 2, within the meaning of Mass. Gen. Laws

ch. 93A, § 9(3).

       81.     Plaintiff Sapienza and the Massachusetts Subclass are also entitled to injunctive

relief in the form of an order directing Defendants to cease their false and misleading labeling

and advertising, retrieve existing false and misleading advertising and promotional materials,

and publish corrective advertising

       82.     In compliance with the provisions of Mass. Gen. Laws Ann. ch. 93A, § 9(3),

Plaintiff Sapienza sent written notice to Defendants on April 13, 2022, identifying Plaintiff

Sapienza as the claimant, reasonably describing the unfair or deceptive act or practice relied

upon and the injury suffered, and informing Defendants of Plaintiff Sapienza’s intention to seek

damages under the MCPA. The letter was sent via certified mail, return receipt requested, and

advised Defendants that they were in violation of the MCPA and demanded that Defendants

cease and desist from such violations and make full restitution by refunding the monies received

therefrom. The letter expressly stated that it was sent on behalf of Plaintiff Nicole Sapienza and

“all other persons similarly situated.” Defendants did not take action to rectify the injuries

caused by their unlawful conduct as described in the 4/13/22 letter on a class-wide basis within

30 days of its receipt. Accordingly, Plaintiff Sapienza, individually and on behalf of the

proposed Massachusetts Subclass, seeks monetary damages from Defendants as permitted by

Mass. Gen. Laws Ann. ch. 93A, § 9 for Defendants’ violations of the MCPA. A true and correct

copy of Plaintiff’s letter is attached hereto as Exhibit C.




                                                 30
           Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 31 of 58




          83.   Accordingly, pursuant to Mass. Gen. Laws ch.93A, § 9, Plaintiff Sapienza and

Massachusetts Subclass members are entitled to recover their actual damages or statutory

damages of $25.00 each, whichever results in a greater recovery, and to recover double or treble

the amount of their actual damages, plus their reasonable attorneys’ fees and the costs of this

action.

                                          COUNT II
                                 Breach Of Express Warranty
                              (On Behalf of the Nationwide Class)

          84.   Plaintiff re-alleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

          85.   Plaintiff brings this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

          86.   Defendants, as the designer, manufacturer, marketer, distributor, and/or seller of

the Products, expressly warranted in the Rapid Release Claims that the Class Rapid Release

Gelcaps provide faster-acting pain relief than their non-rapid release counterparts.

          87.   However, the Class Rapid Release Gelcaps are not, in fact, faster acting than their

less expensive non-rapid release counterparts. Rather, independent testing commissioned by

Plaintiff’s counsel reveals that the Products are actually slower acting than their less expensive

non-rapid release counterparts than the cheaper Signature Care caplets of the same dosage.

          88.   As a direct and proximate cause of Defendants’ breach of express warranty,

Plaintiff and the Class have been injured and harmed because: (a) they would not have

purchased the Products on the same terms if they knew that the Rapid Release Claims were not

true; (b) they paid a price premium for the Products due to the Rapid Release Claims; and (c) the

Products do not have the characteristics, uses, benefits, or quantities as promised in that the




                                                 31
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 32 of 58




purportedly “rapid release” Products are in reality slower than their non-rapid release

counterparts.

       89.      On April 13, 2022, prior to filing this action, a pre-suit notice letter was served on

Defendants which complies in all respects with U.C.C. § 2-607. See Ex. C. Plaintiff,

individually and on behalf of the putative Class, sent Defendants a letter via certified mail, return

receipt requested, advising Defendants that they breached numerous warranties and violated state

consumer protection laws, and demanding that Defendants cease and desist from such violations

and make full restitution by refunding the monies received therefrom. Id.

                                         COUNT III
                     Breach Of The Implied Warranty Of Merchantability
                             (On Behalf of the Nationwide Class)

       90.      Plaintiff re-alleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       91.      Plaintiff brings this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

       92.      Defendants, as the designer, manufacturer, marketer, distributor, and/or seller of

the Products, affixed Rapid Release Claims to each Product and impliedly warranted that the

Class Rapid Release Gelcaps provide faster acting pain relief than their non-rapid release

counterparts.

       93.      Defendants breached the warranty implied in the contract for the sale of the

Products because they could not pass without objection in the trade under the contract

description, the goods were not of fair average quality within the description, and the goods were

unfit for their intended and ordinary purpose because the Products do not, and in fact, could

never provide faster acting pain relief than their non-rapid release counterparts as advertised.




                                                  32
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 33 of 58




Rather, independent testing commissioned by Plaintiff’s counsel reveals that the Products are, in

reality, slower acting than their less expensive non-rapid release counterparts than the cheaper

Signature Care caplets of the same dosage. As a result, Plaintiff and Class members did not

receive the goods as impliedly warranted by Defendants to be merchantable.

       94.      Plaintiff and Class members purchased the Products in reliance upon Defendants’

skill and judgment and the implied warranties.

       95.      The Class Rapid Release Gelcaps were not altered by Plaintiff and Class

members.

       96.      The Class Rapid Release Gelcaps were defective when they left the exclusive

control of Defendants.

       97.      Defendants knew that the Products would be purchased and used without

additional testing by Plaintiff and Class members.

       98.      The Products were defectively designed and manufactured and unfit for their

intended purpose, and Plaintiff and Class members did not receive the goods as warranted.

       99.      As a direct and proximate cause of Defendants’ breach of the implied warranty,

Plaintiff and Class members have been injured and harmed because: (a) they would not have

purchased the Products on the same terms if they knew that the Rapid Release Claims were not

true; (b) they paid a price premium for the Products due to the Rapid Release Claims; and (c) the

Products do not have the characteristics, uses, benefits, or quantities as promised in that the

purportedly “rapid release” Products are in reality slower than their non-rapid release

counterparts.




                                                 33
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 34 of 58




                                          COUNT IV
                                Unjust Enrichment / Restitution
                              (On Behalf of the Nationwide Class)

       100.    Plaintiff re-alleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.

       101.    Plaintiff brings this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

       102.    Plaintiff and the Class conferred benefits on Defendants by purchasing the Class

Rapid Release Gelcaps.

       103.    Defendants have been unjustly enriched in retaining the revenues derived from

Plaintiff’s and Class Members’ purchases of the Class Rapid Release Gelcaps. Retention of

those monies under these circumstances is unjust and inequitable because Defendants’ inclusion

of material misrepresentations of fact on the Products’ labeling and/or packaging (i.e., the Rapid

Release Claims) induced Plaintiff and the Class to purchase the Class Rapid Release Gelcaps.

These misrepresentations caused injuries to Plaintiff and the Class because they would not have

purchased the Class Rapid Release Gelcaps at all, or would not have purchased them on the

same terms, if the true facts were known.

       104.    Because Defendants’ retention of the non-gratuitous benefits conferred on them

by Plaintiff and the Class is unjust and inequitable, Defendants must pay restitution to Plaintiff

and the Class for their unjust enrichment, as ordered by the Court.

                                          COUNT V
                                 Negligent Misrepresentation
                              (On Behalf of the Nationwide Class)

       105.    Plaintiff re-alleges and incorporates by reference every allegation set forth in the

preceding paragraphs as though alleged in this Count.




                                                 34
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 35 of 58




        106.    Plaintiff brings this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

        107.    As discussed above, Defendants made misrepresentations in their advertisements

and related statements made in connection with the Class Rapid Release Gelcaps, specifically

that the Products are “Rapid Release” gelcaps, which a reasonable consumer would understand

such claims to mean that the Products work faster and thus provide quicker pain relief than

Defendants’ non-rapid release products with the same active ingredients and of the same dosage.

However, as noted above, despite what Defendants’ marketing and labeling of the Products

would have consumers believe, the Class Rapid Release Gelcaps do not, in fact, provide faster

pain relief than their non-rapid release counterparts. Additionally, Defendants omitted, failed to

disclose, and/or intentionally concealed from such advertisements and related statements

material facts concerning the qualities, characteristics, and benefits associated with the Class

Rapid Release Gelcaps, namely that the Products are actually slower acting as compared to their

non-rapid relief counterparts.

        108.    At the time Defendants made these representations, Defendants knew or should

have known that these representations were false or made them without knowledge of their truth

or veracity.

        109.    At an absolute minimum, Defendants negligently misrepresented and/or

negligently omitted material facts about the Class Rapid Release Gelcaps and their associated

characteristics, qualities, and benefits.

        110.    The negligent misrepresentations and omissions made by Defendants, upon

which Plaintiff and Class members reasonably and justifiably relied, were intended to induce




                                                 35
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 36 of 58




and actually induced Plaintiff and Class members to select and purchase the Class Rapid Release

Gelcaps over their less expensive, non-rapid release counterparts.

       111.    Plaintiff and Class members would not have purchased the Class Rapid Release

Gelcaps, or would not have purchased them on the same terms, if the true facts had been known.

       112.    The negligent actions of Defendants caused damage to Plaintiff and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                                          COUNT VI
                                             Fraud
                              (On Behalf of the Nationwide Class)

       113.    Plaintiff hereby re-alleges and incorporates by reference the allegations contained

in all preceding paragraphs of this complaint.

       114.    Plaintiff brings this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

       115.    As discussed above, Defendants provided Plaintiff and Class members with false

and misleading material information and failed to disclose material facts about the Class Rapid

Release Gelcaps and their associated characteristics, qualities, and benefits. These

misrepresentations and omissions were made by Defendants with knowledge of their falsehood.

       116.    The misrepresentations and omissions made by Defendants, upon which Plaintiff

and Class members reasonably and justifiably relied, were intended to induce and actually

induced Plaintiff and Class members to purchase the Class Rapid Release Gelcaps.

       117.    The fraudulent actions of Defendants caused damage to Plaintiff and the members

of the Class, who are entitled to damages and other legal and equitable relief as a result.




                                                 36
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 37 of 58




                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendants, as follows:

                (a)     For an order certifying the proposed Class and Subclass under Rule 23 of
                        the Federal Rules of Civil Procedure, naming Plaintiff as representative of
                        the Class and Subclass, and naming Plaintiff’s attorneys as Class Counsel
                        to represent the Class and Subclass;

                (b)     For an order declaring the Defendants’ conduct violates the statutes and
                        laws referenced herein;

                (c)     For an order finding in favor of Plaintiff and the Class and Subclass on all
                        counts asserted herein;

                (d)     For actual, compensatory, statutory, and/or punitive damages in amounts
                        to be determined by the Court and/or jury;

                (e)     For prejudgment interest on all amounts awarded;

                (f)     For an order of restitution and all other forms of equitable monetary relief;

                (g)     For injunctive relief as pleaded or as the Court may deem proper; and

                (h)     For an order awarding Plaintiff and the Class and Subclass their
                        reasonable attorneys’ fees and expenses and costs of suit.

                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable of right.




                                                     37
        Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 38 of 58




Dated: June 21, 2022                Respectfully submitted,



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                                    By: /s/ James J. Reardon, Jr.
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                                    Attorneys for Plaintiff and the Putative Class




                                      38
Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 39 of 58




                    EXHIBIT A
                    Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 40 of 58
                                                                                                      Valisure, LLC
                                                                                                     5 Science Park
                                                                                               New Haven, CT 06511
                                                                                           analysis@valisure.com




VALISURE REPORT
CLIENT INFORMATION

                                                                              ATTN: Julia K.
   Standard:           Report ID:               Sample Type:                    Venditti,           Reference:
ISO/IEC 17025:2017     20220222 C        Acetaminophen, 500 mg                  Bursor &             2111-0025
                                                                               Fisher, P.A
  Receipt Date:       NDC Package               Description:                      Lot:           Expiration Date:
                                     Better, Signature Care, Rapid Release,
                                                 Extra Strength

 January 28, 2022     21130-919-12                                              P126037              07/2024




                                            Better, Signature Care


 January 28, 2022     21130-111-78                                              1ME1938C             06/2023




                                                                                 Valisure Test Report: Page 1 of 2
                          Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 41 of 58

DISSOLUTION ANALYSIS SUMMARY



 Analysis details for each test performed can be found on the following pages. Gelcap is gelatin coated tablet
 and Caplet is coated tablet.
 Replicates: One Sample (n = 1) each                                                                 Method: Dissolution Analysis:
                                                                                                     USP Acetaminophen Tablets
                                                                                                     Pharmacopeial Forum: Volume No. 43(3),
                                                                                                     Official 1-Oct-2021
 Test Date: February 15, 2022                                                                        Operator: Alex Reimers

 Analysis Date: February 21, 2022                                                                    Analyst: Amber Hudspeth

 Operator Notes: Dissolution is performed at 50 rpm paddle speed and 37.5 ± 0.1°C using              Approval Signature: Kaury Kucera, CSO
 900 ml of dissolution buffer: 50 mM monobasic potassium phosphate and sodium hydroxide
 to reach pH 5.8 at 37.5°C in deionized water. Samples were collected every 2 minutes for a
 total of 30 minutes. Samples are analyzed for ultraviolet light (UV) absorbance at 243 nm
 corresponding to the peak absorbance of acetaminophen. Data is processed using MatLab
 with the Statistics and Machine Learning Toolbox and the Curve Fitting Toolbox. Dissolution
 profiles are normalized to the average of endpoint data values and fit using a Weibull Model
 (cumulative distribution function for drug dissolved as a function of time equal to f(t)=1-exp[-
 a(t-T)^b], where a and b are parameters for time-scale and shape of curve progression,
 respectively, t is time, and T is lag time as a result of the dissolution process and was assumed
 to be zero). The fits are used to calculate times corresponding to percent of acetaminophen
 dissolved in solution.


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TO BE A STATEMENT, CLAIM OR INDICATION OF EFFICACY OR SUITABILITY OF THE SAMPLE, (3) DO NOT DESCRIBE ANY PARTICULAR CHARACTERISTIC (OR
LACK OF CHARACTERISTIC) BEYOND THE SPECIFIC METRICS LISTED FOR THE SPECIFIC SAMPLE TESTED, (4) MAKE NO CLAIM OR INDICATION OF THE
RELATIVE EFFICACY AND/OR SUITABILITY OF THE SAMPLES AS COMPARED WITH OTHER SUBSETS, BATCHES, LOTS, BRANDS, FORMULATIONS, OR
TREATMENTS, AND (5) CANNOT BE USED BY CLIENT FOR REGULATORY PURPOSES AND ARE NOT APPLICABLE FOR REGULATORY PURPOSE.




                                                                                                                       Valisure Test Report: Page 2
             Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 42 of 58
DISSOLUTION ANALYSIS RESULTS


Figure: Dissolution shown as a proportion of label claim acetaminophen (500 mg) released into solution over time shown in
minutes (min). Red is caplet (lot 1ME1938) data and blue is gelcap (lot P126037) data.




Table: Time (minutes) for 75-95% dissolution by product.


                     Brand:          Signature Care
                        Lot:      P126037      1ME1938
                Description:       gelcap        caplet
                       75%          10.0           8.9
                       80%          10.9           9.7
      Percent
                       85%          12.0          10.7
      dissolved
                       90%          13.3          12.0
                       95%          15.5          14.0




CONFORMITY STATEMENTS

 All products tested meet USP tolerance for dissolution because greater than 80% of the labeled amount of
 acetaminophen is dissolved in under 30 minutes.




                                                                                            Valisure Test Report: Page 3
Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 43 of 58




                    EXHIBIT B
                   Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 44 of 58

                               Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




    Research


Rapid and Fast-Release Acetaminophen Gelcaps Dissolve Slower Than Acetaminophen
Tablets
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1
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Abstract
The dissolution properties of oral medicinal drugs are affected by formulation and used to market over-the-counter medications.
Acetaminophen is one of the most commonly used over-the-counter pain and fever-reducing medications with an estimated global
yearly market value of over $350 million US dollars [1]. Acetominophen gelcaps are, in general, sold at higher prices than company-
matched standard tablets. Standard acetaminophen tablets and rapid or fast-release gelcaps from five major US companies were
analyzed using the industry standard test for dissolution. Results indicate that acetaminophen gelcaps marketed as rapid or fast-release
are slower acting under in vitro dissolution conditions compared to the company-matched tablet dose.

        Keywords: dissolution; acetaminophen; rapid release; fast-release; quick release; standard release; medication release; over-
the-counter; generic drugs.

Introduction                                                            The specific formulation of individual drug products including
                                                                        excipients, binders, and sustained release materials is propriety
The release of active ingredients from drug products is an              knowledge. Many companies sell over-the-counter drug products
essential component of pharmacokinetics of absorption,                  in multiple forms including those advertised as “fast-release,” or
distribution, metabolism, and excretion that influences onset of        “rapid release”. Modified release drug products can control the
drug action after oral administration. Following the widely             pharmacokinetic and pharmacodynamic properties of drug
accepted standard set by the United States Pharmacopeia (USP)           administration, which is also applicable to extended release forms
for in vitro drug release rate, or dissolution analysis, we             [2]. The in vitro release of drugs into solution over time is studied
investigated rapid (or fast) release medications from five major        for solid oral drug dosages with dissolution testing. Dissolution
US companies (Rite Aid, Walgreens, CVS, Johnson & Johnson               testing is commonly used in the pharmaceutical industry to test
Tylenol, and Walmart Equate) selling acetaminophen, also called         the quality and effectiveness of drug release from solid oral
paracetamol or N-acetyl-para-aminophenol, compared to                   medications.
company-matched tablets that do not have claims of rapid or fast-
release characteristics.                                                Formulating pure medicinal drugs for oral delivery requires non-
                                                                        active ingredients that affect dissolution properties [3]. These

Adv Inv Pha The Medic 1:63-71(2018)
                    Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 45 of 58

                               Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




excipients may include any of a wide variety of regulated                  that manufactured or processed the drug for commercial
substances including sugars, cellulose, magnesium stearate,                distribution (see Section 510 of the Federal Food, Drug, and
starch, talc, and polyethylene glycols that bind the active                Cosmetic Act) [12]. Knowing the authenticity of medications does
ingredient of an individual drug dose in solid form from mixed             not guarantee the measure of quality or consistency between
powders following mold-based processing [4]. Excipients can                individual lots of medication. In the case of acetaminophen, the
comprise 90% of a medication‟s mass depending on the drug type             claims for rapid or fast-release products have been scrutinized
[5]. Additionally, many solid oral drug products are coated with           previously [13]. Our work provides a thorough comparison of five
non-active ingredients that may regulate dissolution [6]. Coatings         of the top acetaminophen branded and generic products marketed
may range in thickness of gelatin or other polymer-based material          and sold in the US.
that have a pronounced effect on dissolution in viscous solutions
[7]. Generally, polymer coatings may help to shield the taste of           Given wide-spread use of over-the-counter and prescription
medication, allow for recognition by color, and/or aid in the              medications, the quality and value of medications are an
comfort of swallowing [8]. In the case of acetaminophen, coated            important public health, consumer safety, and economic concern.
capsule-shaped tablets, or caplets, are commonly marketed as
gelcaps.
                                                                           Methods

                                                                           For this study, all acetaminophen samples were purchased from
Acetaminophen is included on the World Health Organization
                                                                           pharmacies as over-the-counter medications in the United States
List of Essential Medicines and is the most commonly used
                                                                           New York Tri-State Area. Medications were rejected if the time
medication for fever reduction and pain mitigation in the US and
                                                                           of testing was within a year of the labelled expiration date.
Europe [9,10]. Acetaminophen can be purchased over-the-counter
                                                                           Medications with 100 dosage units at a concentration of 500 mg
in many forms including tablet, caplet, capsule, gelcap, and liquid
                                                                           were purchased. Standard release tablets (herein tablets) and
suspension and is typically dosed in 325 mg, 500 mg, or 650 mg
                                                                           rapid-release or fast-release gelatin coated tablets (herein gelcaps)
solid forms. As a Biopharmaceutical Classification System type
                                                                           sold by five companies and from five lots per company were
III drug, acetaminophen bioavailability is limited by permeation
                                                                           tested. Companies were chosen to represent the top branded
rate and not solubility. Therefore, in vitro dissolution studies are
                                                                           version of acetaminophen [14] and the top 4 retail pharmacy
considered     safe    determinants     of bioequivalence        for
                                                                           chains selling their own generic acetaminophen products [15].
acetaminophen formulation [11].
                                                                           Companies were Rite Aid (company #1), Walgreens (company
Acetaminophen medications are manufactured and distributed                 #2), CVS (company #3), Johnson & Johnson Tylenol (company
through a variety of marketplaces. Post manufactured products are          #4), and Walmart Equate (company #5). Six tablets and six
marketed for sale online or in person with proprietary labelling           gelcaps from a single company were tested together alternating
containing drug identity and dosage amount. All commercial                 through companies until each lot from each company of either
drugs are tracked through unique lot numbers assigned by                   tablets or gelcaps were tested twenty-four times. In total, 1,200
manufacturers to each individual lot or batch of the medication.           units of medication were tested in the primary study controlling
Additionally, a National Drug Code (NDC) is commonly included              for variables within and between companies‟ lots to determine
on US medication labelling. The NDC Directory is maintained by             differences in dissolution rates between tablets and gelcaps.
the FDA and used to identify the pharmaceutical establishment
                    Primary Study Variable            Companies        Lots per Company    Units tested per Lot        Total

                                Tablets                    5                  5                     24                 600

                    Rapid or Fast-Release Gelcaps          5                  5                     24                 600

 Table 1: Experimental Design. This study compares dissolution between 500 mg acetaminophen tablets and gelcaps controlling for
                           variability in tests, lots, and between major companies in the United States.


Adv Inv Pha The Medic 1:63-71(2018)
                    Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 46 of 58

                               Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




Two follow-up studies were performed. First, additional rapid       For analysis of gelcaps with their coating removed, the gelatin
or fast-release tablets without coating were purchased from         coating was manually removed from the inner tablet and all
company #3, which, after reasonable search of retail                components were added to the dissolution vessel at time zero
pharmacies in the New York Tri-State Area, appeared to be           of sample collection (see Figure 3). Results are shown in
the only company evaluated that markets additional rapid-           Figure 4.
release acetaminophen products beyond gelcaps. These were
analyzed side-by-side with gelcaps and standard-release             UV Analysis
tablets of the company #3. Furthermore, 100 additional
                                                                    Samples were analyzed for ultraviolet light or UV absorbance
gelcaps sampled from all twenty-five study lots were analyzed
                                                                    at 243 nm corresponding to the peak absorbance of
following the removal of their coating (four gelcaps from each
                                                                    acetaminophen using an Epoch microplate spectrophotometer
lot).
                                                                    (BioTek). Samples were consistently diluted in an appropriate
Dissolution Testing                                                 amount of dissolution buffer to reach the working range of the
                                                                    spectrophotometer. Greiner UV-Star 96-well plates were used
Dissolution tests were performed in accordance with the             for sample measurement. Prior to sample analysis, the optical
United States Pharmacopeia (USP) standard for dissolution           interference at 243 nm for UV-Star plates was tested side-by-
[16] and monograph for acetaminophen tablets, a common test         side with quartz and determined negligible (data not shown).
between medications labelled tablet or gelcap. Dissolution
Tester RC-6 (Tianjin Guoming Medicinal Equipment)                   Standard curves using pure acetaminophen in dissolution
instruments that hold six test vessels each were used with          buffer (USP Reference Standard, Sigma-Aldrich) confirmed
testing apparatus II (paddle type). The temperature and pH of       that all acetaminophen medications analyzed reached a
dissolution buffer was verified using a dual probe calibrated       dissolved drug concentration corresponding to full dissolution.
and certified to ISO 17025:2005 standards (Mettler Toledo).         Endpoint samples were within acceptable range of 500 mg
                                                                    acetaminophen in solution (data not shown).
Dissolution was performed at 50 rpm paddle speed and 37.5 ±
0.1°C using 900 ml of dissolution buffer: 50 mM monobasic           Data Analysis
potassium phosphate (KH2PO4, 99% ACS Reagent, Sigma-
                                                                    Dissolution samples were company de-identified and data was
Aldrich) and sodium hydroxide (NaOH, Sigma-Aldrich) to
                                                                    processed and analyzed by a separate researcher.
reach pH 5.8 at 37.5°C in deionized water. Although the USP
monograph only requires one sampling at the 30-minute time          Data was processed using MatLab with the Statistics and
point, greater resolution is needed to evaluate release claims in   Machine Learning Toolbox and the Curve Fitting Toolbox
acetaminophen. For this study, samples were collected every         (Release 2018a, The MathWorks, Inc). Dissolution profiles
120 ± 2 seconds for a total of 30 minutes, which enabled            were normalized to the average of the last five data points and
sufficient resolution to ascertain differences in acetaminophen     fit using a Weibull Model (cumulative distribution function
products. 0.5 ml samples were aspirated from 50% vessel             for drug dissolved as a function of time equal to f(t)=1-exp[-
depth and greater than 2 cm from the vessel wall and filtered       a(t-T)^b], where a and b are parameters for time-scale and
using 0.45 µm PVDF membrane (Denville Scientific) to                shape of curve progression, respectively, t is time, and T is lag
remove undissolved acetaminophen and particulate excipients.        time as a result of the dissolution process and was assumed to
Full dissolution was verified for all medication by comparison      be zero). The fits were used to calculate times corresponding
to a standard curve prepared using reference standard               to percent of acetaminophen dissolved in solution. Time for
acetaminophen (Sigma-Aldrich, data not shown). To control           80% dissolution is reported following the USP monograph for
for potential variability in vessel position, crossover             acetaminophen dissolution at the time of this study, which
methodology was used where tablets and gelcap‟s were tested         specifies tolerance as greater or equal to 80% dissolution
side-by-side in alternating order and tests alternated between      within 30 minutes [16].
tablet or gelcap in the first vessel position. The results of in
vitro dissolution are shown in Figures 1 and 2.
Adv Inv Pha The Medic 1:63-71(2018)
                   Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 47 of 58

                               Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




Results                                                                  acetaminophen tablets (gelcaps) from five major US
                                                                         companies dissolve on average 37 seconds slower than
The comparative efficacy of over-the-counter oral dosage                 company-matched standard tablets (see Figure 1). 1,200 solid
acetaminophen products with marketing claims of rapid or                 acetaminophen products for oral administration were analyzed
fast-release was investigated using industry standard                    throughout 30-minute intervals to provide strong statistical
dissolution methods. Our comparative dissolution analysis                confidence in these results.
revealed that rapid or fast-release gelatin coated




   Figure 1: A) Time for 80% dissolution of over-the-counter acetaminophen comparing 600 standard tablets and 600 rapid or fast-
 release gelcaps across five companies reveals that rapid or fast-release gelcaps (black) take longer to dissolve compared to standard
  tablets (white). The p-value of 1.12E-05 suggests this time difference is strongly statistically significant. Error bars are 1.96 times
  standard error, indicating 95% confidence interval under the central limit theorem. B) Averaged and normalized UV absorption by
                  acetaminophen in solution monitors percent dissolution as a function of time for all five companies.

  Sampling every two minutes ensured a high accuracy in curve fitting using the Weibull model, which has been previously used to
                               model the mechanics of dissolution for solid oral medications [17].



                                           Tablet (minutes)           Gelcap (minutes)        % Difference        p-value

                Avg Company #1                7.47 ± 0.10                9.18 ± 0.17             +21.9%          3.63E-17
                Avg Company #2                7.71 ± 0.10                8.73 ± 0.14             +12.4%          9.36E-09
                Avg Company #3                9.08 ± 0.19                7.56 ± 0.19             -18.2%          5.66E-08
                Avg Company #4                3.56 ± 0.05                3.94 ± 0.03             +10.0%          4.18E-09
                Avg Company #5                7.04 ± 0.25                8.43 ± 0.14             +18.0%          1.20E-08
               Medication Average             6.95 ± 0.21                7.57 ± 0.20             +8.5%           1.12E-05

             Table 2: Time for 80% dissolution comparing tablets (n = 120) and rapid or fast-release gelcaps (n = 120).



Adv Inv Pha The Medic 1:63-71(2018)
                   Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 48 of 58

                              Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




  Figure 2: Time for 80% dissolution reveals significant company variability between companies and between medication type. A)
 Comparison of companies and tablet vs gelcaps: company #1 (stars), company #2 (squares), company #3 (diamonds), company #4
 (circles), and company #5 (triangles). B) Company #3 comparison of time for 80% dissolution for tablets (n = 120, white), rapid or
 fast-release gelcaps (n = 120, black), and rapid-release tablets (n = 8, grey) shows that company #3 rapid or fast-release gelcaps are
                                slower to dissolve compared to rapid-release tablets (p-value 1.79E-07).




 Figure 3: Examples of individual medications used in the study. A) Standard release products and B) rapid or fast-release products
                                   showing intact gelcaps and gelcaps with coating removed.




Adv Inv Pha The Medic 1:63-71(2018)
                   Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 49 of 58

                              Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




 Figure 4: Removing the gelatin coating of rapid or fast-release gelcaps without gelatin, (n = 20), significantly decreases the time for
   acetaminophen to dissolve compared to rapid or fast-release gelcaps (with gelatin, n = 120). The p-value for the average time for
dissolution of all companies between with coating and coating removed is 3.53E-11 underscoring a very strong statistical significance
                                                           for these results.



                                                                 Gelcap, Coating
                                     Gelcap With Coating                                   % Difference            p-value
                                                                Removed (minutes)
                                          (minutes)
           Avg Company #1                9.18 ± 0.17                7.47 ± 0.32                -20.6%             1.39E-04
           Avg Company #2                8.73 ± 0.14                6.96 ± 0.24                -22.7%             2.20E-06
           Avg Company #3                7.56 ± 0.20                5.66 ± 0.32                -28.8%             1.05E-04
           Avg Company #4                3.94 ± 0.04                2.56 ± 0.07                -42.6%             5.67E-36
           Avg Company #5                8.43 ± 0.14                6.42 ± 0.25                -27.1%             2.35E-07
          Medication Average             7.57 ± 0.20                5.81 ± 0.21                -26.3%             3.53E-11



Table 3: Time for 80% dissolution comparing gelcaps with (n = 120) and without (n = 20) gelatin coating. Average dissolution times
                                         for 20 gelaps from each company are shown.



For only one of the five companies (company #3), rapid or               average, the slowest dissolving medications. Notably,
fast-release gelcaps dissolved faster than company-matched              company #3 is, as far as we were able to reasonably determine
standard tablets. Company #3 standard tablets were, on                  in the New York Tri-State Area, the only company included in
Adv Inv Pha The Medic 1:63-71(2018)
                    Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 50 of 58

                               Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




this study that has also marketed an additional rapid or fast-      All medications used for this study passed industry standards
release actetaminophen tablet that is not gelatin coated.           for full dissolution in under 30 minutes and are therefore
Comparative analysis of this additional company #3 product          predicted to be pharmacologically effective. Most drugs taken
from two different lots with company #3 gelcaps demonstrated        orally are absorbed in the small intestine due to high
that the gelcaps are statistically significantly slower than        permeability and large surface area compared to the stomach
company-matched tablets (see Figure 2), preserving the trend        [19]. As an early rate-limiting step, stomach emptying renders
that gelcaps dissolve slower than tablets.                          any oral medication that dissolves in 30 minutes or less
                                                                    essentially as rapid as possible in terms of dissolution. Indeed,
To better understand the influence of gelatin coatings on           unless oral medications are engineered for extended release,
gelcap dissolution, four gelcaps from each of the twenty-five       those that dissolve or disintegrate in the gastrointestinal tract
lots tested during the primary study (n = 100) were examined        are generally considered rapidly dissolving formulations. In
with their red and blue encapsulation removed. All                  these cases, bioavailability is dependent on drug permeability
components were added to the dissolution vessel at the same         [20].
time to ensure that the only variable changed was the physical
attachment of the gelatin coating to the solid medication           Acetaminophen is one of the most commonly used drugs in
surface. Results suggest that the removal of a gelcap‟s red and     the world to treat acute and chronic pain [21]. In the US,
blue coating speeds up, on average, the time required for fully     acetaminophen currently costs between 0.01 and 0.43 USD
dissolving by 26% (see Table 3). This faster dissolution time       per dose depending on quantity sold according to drugs.com
suggests that gelcaps are a barrier for dissolution (see Figure     market research [22]. Furthermore, a 2002 survey reported
4).                                                                 that 89% of consumers read over-the-counter drug package
                                                                    labels prior to purchase, which suggests that marketing claims
An unanticipated study result concerns variability between          like „rapid release‟ or „fast-release‟ may impact purchasing
companies. Specifically, the variability of gelcaps and tablets     decisions [23]. Rapid or fast-release acetaminophen purchased
between the five major US companies was surprisingly high.          for this study cost an average of 23% more than standard
For example, at 80% dissolution and averaged over 120               tablets of equivalent dose sold by the same company,
gelcaps and 120 tablets, products sold by company #4 dissolve       suggesting there may be an economic impact for consumers
2.4 (gelcaps) and 2.1 (tablets) times faster when compared          choosing gelcaps over tablets.
with products sold by company #1 (see Figure 2A and Table
2).                                                                 Our results suggest that the gelatin coating added to rapid or
                                                                    fast-release gelcaps delays in vitro release of medication. We
Discussion and Conclusions                                          conclude that on average the gelcaps tested were
                                                                    approximately half a minute slower to dissolve compared to
Dissolution of orally administered solid therapeutic drugs is a
                                                                    the company-matched tablets tested.
critical step leading to the release of active drug and is rarely
studied in detail. This study investigated over-the-counter oral    The results of this study warrant additional targeted
medication with marketed claims of rapid or fast-release.           investigations into acetaminophen products and, more
These rapid or fast-release labeled medications are sold at an      generally, oral over-the-counter drugs marketed with release
average of a 23% higher price [18], which make the claims           claims.
associated with these medications of particular interest from a
consumer perspective.                                               Acknowledgements

The results of the study suggest that acetaminophen gelcaps         The authors would like to acknowledge Dr. William Sessa,
packaged with marketed claims of rapid or fast-release tend to      Professor of Pharmacology and Medicine and Vice Chairman
dissolve slower than tablets of identical dosage sold by the        for the Department of Pharmacology, Yale University, for
same company.                                                       helpful review and comments as well as Valisure staff for
                                                                    support and feedback throughout this study.

Adv Inv Pha The Medic 1:63-71(2018)
                      Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 51 of 58

                                 Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




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Valisure LLC does not conduct drug development or                   12.   U.S. Department of Health and Human Services
participate in clinical trials. Valisure LLC‟s affiliated                 USFaDA . Federal Food, Drug, and Cosmetic Act
companies include a laboratory that tests pharmaceutical                  (FD&C Act) 2018.
samples and a pharmacy that dispenses batch-tested                  13.   Dunbar J (2016) Comparative Dissolution of Over-
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Adv Inv Pha The Medic 1:63-71(2018)
                   Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 52 of 58

                           Advances in Investigational Pharmacology and Therapeutic Medicine 1:63-71 (2018)




        Supplemental Information          Lot 1             Lot 2          Lot 3         Lot 4      Lot 5


                     Company #1 (Rite
                                          P106590           P105172        P107562       P104073    P107150
                     Aid)

                     Company #2
                                          P103544           P107562        P106924       P108010    P107810
                     (Walgreens)

        Standard
                     Company #3 (CVS)     7HE1087           8BE1514B       7ME1046       7LE1239A   7ME1152
        Tablets

                     Company #4
                                          LFA122            LLC215         LPC209        LHA052     LSA023
                     (Tylenol)

                     Company #5
                                          C03724            C08966         C10960        7ME1482C   F00054
                     (Equate)

                     Company #1 (Rite
                                          P106810           P105884        P107030       P107550    P107208
                     Aid)

                     Company #2
                                          P105691           P107030        P103593       P107341    P107676
                     (Walgreens)

        Rapid
        Release      Company #3 (CVS)     71670091AB        P105483        P106329       P102607    P108184
        Gelcaps

                     Company #4
                                          LHA032            LMA021         LJA091        LEA011     MAA003
                     (Tylenol)

                     Company #5
                                          P107790           P108183        P108696       P108536    P108038
                     (Equate)

        Rapid
        Release      Company #3 (CVS)     7MR0309           7MR0310        --            --         --
        Tablets


                            Supplemental Table 4: Lot numbers for medications used in the study.




Adv Inv Pha The Medic 1:63-71(2018)
Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 53 of 58




                    EXHIBIT C
        Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 54 of 58




1990 N. CALIFORNIA BLVD., SUITE 940                          NEAL J. DECKANT
W AL N UT C RE E K , CA 9 4 5 96                              Tel: 9 2 5 . 3 0 0 . 4 4 5 5
www.bursor.com                                               Fax: 9 2 5 . 4 0 7 . 2 7 0 0
                                                           ndeckant@bursor.com


                                      April 13, 2022


Via Certified Mail – Return Receipt Requested

Albertsons Companies, Inc.
250 E. Parkcenter Blvd.
Boise, ID 83706

Albertsons Companies, Inc.
c/o C.T. Corporation System
921 S. Orchard Street
Suite G
Boise, ID 83705

Albertson’s LLC
250 E. Parkcenter Blvd.
Boise, ID 83706

Albertson’s LLC
c/o C.T. Corporation System
921 S. Orchard Street
Suite G
Boise, ID 83705

Safeway Inc.
11555 Dublin Canyon Road
Pleasanton, CA 94588

Safeway Inc.
c/o C.T. Corporation System
330 N. Brand Blvd.
Suite 700
Glendale, CA 91203

Albertsons Safeway LLC
250 E. Parkcenter Blvd.
Boise, ID 83706
        Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 55 of 58
                                                                                     PAGE 2



Albertsons Safeway LLC
c/o C.T. Corporation System
330 N. Brand Blvd.
Suite 700
Glendale, CA 91203

Shaw’s Supermarkets, Inc.
750 W. Center Street
West Bridgewater, MA 02379

Shaw’s Supermarkets, Inc.
c/o C.T. Corporation System
155 Federal Street
Suite 700
Boston, MA 02110

Better Living Brands, LLC
11555 Dublin Canyon Road
Pleasanton, CA 94588

LNK International, Inc.
22 Arkay Drive
Hauppauge, NY 11788


Re:    Notice and Demand Letter Pursuant to U.C.C. §§ 2-313, 2-314, 2-607;
       California’s Consumers Legal Remedies Act, Cal. Civil Code §§ 1750, et seq.;
       California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq.;
       California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.;
       The Massachusetts Consumer Protection Act, Mass. Gen. Laws ch. 93A, et seq.;
       Oregon’s Unlawful Trade Practices Act, O.R.S. §§ 646, et seq.;
       Washington’s Consumer Protection Act, RCW §§ 19.86, et seq.; and
       All other applicable consumer protection statutes


To Whom It May Concern:

       This letter serves as a preliminary notice and demand for corrective action to Albertsons
Companies, Inc., Alberton’s LLC, Safeway Inc., Albertsons Safeway LLC, Shaw’s
Supermarkets, Inc., Better Living Brands, LLC, and LNK International, Inc. (collectively,
“You”), concerning breaches of express and implied warranties on behalf of our clients, Renee
Morgan, Monica Charles, Nicole Sapienza, Jason Lucier, and Jennifer Ayala (collectively, the
“Clients”), and a class of all similarly situated purchasers of certain Signature Care-branded
acetaminophen products (the “Class”). This letter also serves as notice of violation of
California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civil Code §§ 1750, et seq.,
including subsections 1770(a)(5), (7), and (9); California’s Unfair Competition Law (“UCL”),
Cal. Bus. & Prof. Code §§ 17200, et seq.; California’s False Advertising Law (“FAL”), Cal. Bus.
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 56 of 58
                                                                                         PAGE 3



& Prof. Code §§ 17500, et seq.; the Massachusetts Consumer Protection Act, Mass. Gen. Laws
ch. 93A, et seq.; Oregon’s Unlawful Trade Practices Act, O.R.S. §§ 646, et seq.; Washington’s
Consumer Protection Act, RCW §§ 19.86, et seq.; and all other applicable federal and state laws.
Should we not receive a response to our offer of resolution set forth below, this letter provides
statutory notice of our Clients’ intent to file a class action lawsuit.

        You uniformly advertise, market, and sell acetaminophen gelcap products prominently
featuring the representation “Rapid Release” on their labeling and packaging, under the brand
name Signature Care (collectively, the “Products”). Our Clients each purchased Your Products
from Albertsons, Safeway, and Shaw’s locations in the states of California, Massachusetts,
Oregon, and Washington. Our clients understood the “Rapid Release” claims to be
representations and warranties by You that the Products release acetaminophen faster – and
therefore provide quicker pain relief – than cheaper non-Rapid Release formulations, such as
traditional acetaminophen caplets and/or tablets. Our Clients paid a price premium for the
Products over non-Rapid Release formulations. However, contrary to Your express
representations, the Products are not “Rapid Release,” as independent lab testing demonstrates
that the Products actually release acetaminophen slower than Signature Care’s non-Rapid
Release formulations. See Exhibit A (2022 report from Valisure, LLC, an independent
laboratory, as to the Products at issue); see also Exhibit B (2018 study from Kaury Kucera, et al.,
regarding the testing and methodology). As such, our Clients and similarly situated consumers
were misled and deceived by You as to the Products’ true characteristics. Yet, our Clients
reasonably relied on Your representations and warranties in deciding to purchase the Products,
and these representations were part of the basis of the bargain in that our Clients would not have
purchased the Products, or would not have purchased them on the same terms, if the true facts
had been known. Thus, as a direct result of Your material misrepresentations and omissions, our
Clients suffered, and continue to suffer, economic injuries. In substantially similar cases, courts
have held that such facts meet the federal pleading standards and are suitable for class
certification. See Ex. C (Order granting in part and denying in part class certification in Bailey v.
Rite Aid Corp.).

        Your conduct thus constitutes: (i) breaches of express and implied warranty pursuant to
U.C.C. §§ 2-313, 2-314; (ii) common law fraud; (iii) fraudulent omission; (iv) unjust enrichment;
and (v) further violations of state consumer protection statutes, discussed above. Further, the
acts and practices described herein violated, and continue to violate, the CLRA in at least the
following respects:

       a.      in violation of Section 1770(a)(5), You have represented that the Products have
               characteristics and benefits they do not have;

       b.      in violation of Section 1770(a)(7), You have represented that the Products are of
               a particular standard, quality, grade, style, and model, when they are of another;
               and

       b.      in violation of Section 1770(a)(9), You have advertised the Products with an
               intent not to sell them as advertised.
         Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 57 of 58
                                                                                            PAGE 4



        Accordingly, on behalf of our Clients and the Class, we hereby demand that You
(1) issue a mandatory recall of the Products, and (2) make full restitution to all our Clients and
all similarly situated purchasers of the Products of all purchase money obtained from sales
thereof.

         We also demand that You preserve all documents and other evidence which refer or
relate to any of the above-described practices including, but not limited to, the following:

       1.      All documents concerning the design, packaging, labeling, and
               manufacturing process for the Products;

       2.      All documents, communications, consumer surveys, or memoranda
               concerning any testing of the Products or other research done concerning
               the ingredients in the Products, whether performed by You or any
               third-party entities;

       3.      All documents concerning the pricing, advertising, marketing, and/or sale
               of the Products;

       4.      All communications with customers involving complaints or comments
               concerning the Products;

       5.      All documents concerning communications with any retailer involved in
               the marketing or sale of the Products;

       6.      All documents concerning the identity of those individuals who purchased the
               Products;

       7.      All documents concerning communications with federal or state regulators
               concerning the Products; and

       8.      All documents concerning the total revenue derived from sales of the Products.

       If You contend that any statement in this letter is inaccurate in any respect, please provide
us with Your contentions and supporting documents immediately upon receipt of this letter.

         This letter also serves as a thirty (30) day notice and demand requirement to seek
damages under Cal. Civ. Code § 1782; Mass. Gen. Laws Ch. 93A, § 9(3); Or. R. Civ. P. 32 H;
and any additionally relevant consumer protection statute. Accordingly, should You fail to
rectify the situation on a class-wide basis within 30 days of receipt of this letter, our Clients will
seek actual, statutory, and punitive damages against You on behalf of themselves and the Class.

        Please contact me right away if You wish to discuss an appropriate way to remedy this
matter. If I do not hear from You promptly, I will take that as an indication that You are not
interested in doing so.
Case 1:22-cv-10968-RGS Document 1 Filed 06/21/22 Page 58 of 58
                                                            PAGE 5



                                 Sincerely,




                                 Neal J. Deckant
